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1                                                                                     JUDGE THOMAS S. ZILLY
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7
                                       UNITED STATES DISTRICT COURT
8                                     WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
9
     UNITED STATES OF AMERICA,                                              )
10                                                                          )         CASE NO. CR05-145TSZ
                                   Plaintiff,                               )
11                                                                          )
                         v.                                                 )         ORDER
12                                                                          )
     AHMED CHARLES LINDSEY, and,                                            )
13   LANA DANIELLE SWEAT,                                                   )
                                                                            )
14                                 Defendants.                              )
                                                                                )
15
               This Court having considered the stipulation of the parties hereby GRANTS the
16
     parties' request for a continuance of the trial date and pre-trial motions cutoff date.
17
     Defendants Ahmed Charles Lindsey and Lana Danielle Sweat have indicated their
18
     knowing, voluntary, and intelligent waivers of their rights to a speedy trial by executing
19
     written waivers of their right to a speedy trial through September 19, 2005.
20
               In view of the parties' agreement to continue the trial date, for the reasons stated in
21
     their stipulation, the defendants' knowing, voluntary, and intelligent waivers or
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     anticipated waivers of their right to a speedy trial, the parties' desire to continue to engage
23
     in plea discussions, the complexity of the case, and the interest of the public in ensuring
24
     the accused adequate, effective, and continued representation by counsel presently
25
     assigned, this Court finds that the ends of justice served by granting a continuance
26
     outweighs the best interests of the public and the defendant in a speedy trial.
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     ORDER — 1                                                                                          UNITED STATES ATTORNEY
                                                                                                         700 Stewart Street, Suite 5220
     United States v. Ahmed Charles Lindsey, et al., Case No. CR05-145TSZ
                                                                                                        Seattle, Washington 98101-1271
                                                                                                                 (206) 553-7970
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1              The parties motion for continuance is GRANTED. Trial is reset for September 6,
2    2005, and all pre-trial motions shall be served on or before August 31, 2005. The time
3    from June 20, 2005 to September 6, 2005, shall be excludable under the Speedy Trial
4    Act, Title 18, United States Code, Section 3161(h)(8)(A).
5

6              Dated this 8th day of June, 2005.
7

8
                                                                  A
                                                                  Thomas S. Zilly
9                                                                 United States District Judge
10

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12   Presented by:
13
     s/ John J. Lulejian
14   JOHN J. LULEJIAN
     Assistant United States Attorney
15   United States Attorney's Office
     700 Stewart Street, Suite 5220
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20   s/ Ilene J. K. Miller
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     700 Union Street, Suite 5220
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     E-mail: Ilene.Miller@usdoj.gov

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     ORDER — 2                                                                                      UNITED STATES ATTORNEY
                                                                                                     700 Stewart Street, Suite 5220
     United States v. Ahmed Charles Lindsey, et al., Case No. CR05-145TSZ
                                                                                                    Seattle, Washington 98101-1271
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